                                          Case 4:23-cv-04155-YGR Document 248 Filed 04/05/24 Page 1 of 2




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                                  3                                      UNITED STATES DISTRICT COURT
                                  4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  8    CALIFORNIA COALITION FOR WOMEN                     Case No.: 4:23-cv-4155-YGR
                                       PRISONERS, ET AL.,
                                  9                                                       ORDER NO. 2 RE SPECIAL MASTER
                                                   Plaintiffs,                            IDENTIFICATION AND APPOINTMENT
                                  10
                                              v.
                                  11
                                       UNITED STATES OF AMERICA BUREAU OF
Northern District of California




                                  12   PRISONS, ET AL.,
 United States District Court




                                  13                Defendants.
                                  14          On March 15, 2024, the Court granted in part plaintiffs’ motion for a preliminary injunction
                                  15   and ordered the appointment of a special master pursuant to 18 U.S.C. § 3626(f). (“Order,” Dkt.
                                  16   No. 222.)
                                  17          Effective immediately, and pursuant to that Order, the Court hereby appoints Wendy Still as
                                  18   Special Master. Given the urgency and magnitude of issues existing at FCI Dublin, Ms. Still
                                  19   requires reasonable staff and experts to assist. Accordingly, the following additional persons are
                                  20   hereby appointed:
                                  21          1.        Jackie Clark, Nurse Consultant
                                  22          2.        Dawn Davison, Safety and Security, Rehabilitative Programming, PREA
                                  23          3.        Dr. Barbara Owen, Data and Statistical Analysis
                                  24          4.        Sara Malone, Special Assistant
                                  25   Each person identified shall be paid pursuant to the guidance authorized under 18 U.S.C. § 3006A.
                                  26   Each is subject to the Protective Order issued in this action (Dkt. No. 201) and must execute
                                  27   Exhibit A thereto before beginning any work. Reasonable expenses are also approved.
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                                           Case 4:23-cv-04155-YGR Document 248 Filed 04/05/24 Page 2 of 2




                                  1           Ms. Still and her team shall have full access to FCI Dublin, all its records, and all physical
                                  2    facilities as necessary to provide the Court with the information necessary to address the issues
                                  3    raised in the Order, both in terms of assessment and implementation. The warden shall take all
                                  4    steps to ensure such access.
                                  5           Invoices shall be submitted to the Court every two weeks beginning April 22, 2024, unless
                                  6    otherwise ordered. Ms. Still shall also be allowed an administrative assistant and shall provide an
                                  7    estimate in terms of hourly assistance necessary per week.
                                  8           At this juncture, Ms. Still is not authorized to conduct hearings nor is there a need to prepare
                                  9    findings of fact. She may communicate, at will, with members of FCI Dublin staff and all inmates.
                                  10   Though 18 U.S.C. § 3626(f)(6)(B) states that the Special Master “shall not make any findings or
                                  11   communications ex parte,” in light of the nature of the appointment, the Court interprets that
                                  12   language to prohibit only ex parte communications between the Special Master and the attorneys of
Northern District of California
 United States District Court




                                  13   the parties (whether internal or external). All other ex parte communications are allowed, including
                                  14   with the Court. Any party who objects to this interpretation must do so within five (5) business
                                  15   days of the Order.
                                  16          For purposes of Title 18 U.S.C. § 3626(a)(2), the 90-day time period shall be deemed to
                                  17   begin as of the date of this order.
                                  18          IT IS SO ORDERED.
                                  19   Date: April 5, 2024                              _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  20                                                       UNITED STATES DISTRICT COURT JUDGE
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